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                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES

Date: February 4, 2025         Time: 2 hours 41 minutes         Judge: YVONNE GONZALEZ ROGERS
Case No.: 24-cv-4722-YGR       Case Name: Musk v. Altman et al



Attorney for Plaintiff: Marc Toberoff and Jaymie Parkkinen
Attorney for Defendant: Russell Cohen, Reed Hoffman, Deana Templeton, Jordan Eth, Sarah Eddy,
                         and William Savitt

Deputy Clerk: Edwin Angelo A. Cuenco              Court Reporter: Raynee Mercado; via Zoom


                                           PROCEEDINGS

    Motion for Preliminary Injunction – held.

    The Court heard argument on the motion for preliminary injunction, the parties’ anticipated trial
    schedules, antitrust claims and state law claims.

    The motion is taken into submission.

    Written order to issue.
